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                                        EXHIBIT A

                                       Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                            Chapter 11

    Alpha Latam Management, LLC, et al.,1                            Case No. 21-11109 (JKS)

                                                                     (Jointly Administered)
                                      Debtors.



    DIP Note Purchasers Consortium,

                                                                    Adv. Proc. No. 22-50105 (JKS)
                                      Plaintiff

    v.                                                              Re: Adv. D.I. 2

    Alpha Capital S.A.S., Vive Créditos Kusida S.A.S.,
    and Alpha Latam Management, LLC,


                                      Defendants.


                    ORDER DENYING PLAINTIFF’S EMERGENCY MOTION
                        FOR TEMPORARY RESTRAINING ORDER

            Upon consideration of the Plaintiff’s Emergency Motion For A Temporary Restraining

Order And Preliminary Injunction (the “Motion”) and the Court having found that due and proper

notice of the Motion has been made and, after due deliberation and a hearing on the Motion on

February 1, 2022,

            IT IS HEREBY ORDERED THAT:



1
         The Debtors in these cases, along with the last four digits of each Debtor’s tax identification number in their
applicable jurisdiction of incorporation, are as follows: Alpha Latam Management, LLC (4610); Acsa Atento S.A.S.
(766-6); Alpha Capital S.A.S. (717-5); AlphaCredit Latam S.A.S. (326-5); AlphaCredit Sudamérica, S. de R.L. (72
87); AlphaDebit, S.A. de C.V. (3FI4); and Vive Créditos Kusida S.A.S. (013-4). Alpha Latam Management, LLC’s
registered address is 1209 N Orange Street, Wilmington, DE 19801. The main address of the other Debtors is Carrera
14 No. 94 – 81, Bogotá, Colombia.



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         1.        The Motion is DENIED for the reasons stated on the record at the hearing.

         2.        The parties will confer and submit a proposed scheduling order to the Court, which

will include a proposed date for a hearing on the Plaintiff’s request for a preliminary injunction.




                                                   2
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